
Appeal from an order of the Albany Special Term of the Supreme Court, which confirmed the report of a referee in six certiorari proceedings and reduced the assessments in the year of 1948 upon relator’s property in the city of Albany. The finding of the Special Term on the question of overvaluation of relator’s property is sustained by the record. Its conclusion that the ratio of assessed value to full value in the tax district generally is 72.4% is open to substantially the same infirmities considered in People ex rel. Reynolds v. Kinnaw (276 App. Div. 718), and for this reason the order should be reversed. Order reversed, on the law and facts, and a new hearing ordered before an official referee to be designated by this court, with costs to abide the event. The referee is directed to report to this court solely on the question of inequality. The court hereby disapproves all findings on the issue of inequality. Heffernan, Brewster, Bergan and Coon, JJ., concur; Foster, P. J., dissents. [See post, p. 1062.]
